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14   CITY AND COUNTY OF SAN FRANCISCO, et al.

15                                 UNITED STATES DISTRICT COURT

16                               NORTHERN DISTRICT OF CALIFORNIA

17    COALITION ON HOMELESSNESS; TORO                Case No. 4:22-cv-05502-DMR
      CASTAÑO; SARAH CRONK; JOSHUA
18    DONOHOE; MOLIQUE FRANK; DAVID                  DECLARATION OF STEVEN A. MILLS IN
                                                     SUPPORT OF DEFENDANTS’ MOTION TO
      MARTINEZ; TERESA SANDOVAL;                     DISMISS THE THIRD AMENDED
19
      NATHANIEL VAUGHN,                              COMPLAINT
20
             Plaintiffs,                             Hearing Date:       February 13, 2025
21                                                   Time:               1:00 p.m.
             vs.                                     Place:              Courtroom 4 – 3rd floor
22                                                                       1301 Clay Street
      CITY AND COUNTY OF SAN                                             Oakland, CA 94612
23    FRANCISCO, et al.,
                                                     Trial Date:         July 28, 2025
24           Defendants.
                                                     Attachments:        Exhibits A - NN
25

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 1           I, Steven A. Mills, declare as follows:

 2           1.      I am a Deputy City Attorney in the Office of the City Attorney for the City and County

 3   of San Francisco and am one of the attorneys of record for Defendants City and County of San

 4   Francisco; San Francisco Police Department; San Francisco Department of Public Works; San

 5   Francisco Department of Homelessness and Supportive Housing; San Francisco Fire Department; and

 6   San Francisco Department of Emergency Management (collectively, the “City”). I am a member in

 7   good standing of the bar of this Court. I have personal knowledge of the matters stated, and if called to

 8   testify, I can and will testify competently as to all matters set forth herein.

 9           2.      A true and correct copy of Plaintiffs’ Responses to Defendants’ Second Set of

10   Interrogatories that were served on Defendants on December 20, 2024 is attached hereto as Exhibit A.

11           3.      Following the Further Case Management Conference held on December 4, 2024,

12   Defendants initiated a meet and confer with Plaintiffs’ counsel concerning third-party service. On

13   December 9, 2024, Defendants followed up on their efforts to meet and confer and provided Plaintiffs

14   with copies of subpoenas for individuals that have been identified by Plaintiffs as likely trial witnesses

15   and individuals that have not been designated as likely trial witnesses but appear on Plaintiffs’ initial

16   disclosure. In the same email, Defendants requested additional identifying information given

17   deficiencies with the information contained on Plaintiffs’ initial disclosure. On December 13, 2024,

18   Plaintiffs responded to accept service on behalf of Sarah Stephenson and James Reem. On the same

19   day, Defendants followed up on the request for additional identifying information or confirmation that

20   Plaintiffs have provided all information that is known. On December 18, 2024, Plaintiffs responded

21   that they would accept service for Shelsey Wiley, confirmed that Plaintiffs have been unsuccessful in

22   reaching out to the remaining individuals, and that they would update Defendants on their progress.

23   On the same day, Defendants requested additional information about how Plaintiffs are intending to

24   facilitate service going forward to mitigate any risk of communicating with individuals Plaintiffs

25   intend to represent and given the need to seek alternative service. To date, a response has not been

26   received. True and correct copies of Defendants’ email correspondence with Plaintiffs’ counsel are

27   attached hereto as Exhibit B, Exhibit C, and Exhibit D.

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 1          4.      A true and correct copy of highlighted excerpts from the transcript of the Deposition of

 2   Sarah Cronk, taken on September 23, 2024 in connection with this case, is attached hereto as Exhibit

 3   E.

 4          5.      A true and correct copy of highlighted excerpts from the transcript of the Deposition of

 5   David Martinez, taken on October 15, 2024 in connection with this case, is attached hereto as Exhibit

 6   F.

 7          6.      A true and correct copy of highlighted excerpts from the transcript of the Deposition of

 8   Molique Frank, Volume I, taken on September 25, 2024 in connection with this case, is attached

 9   hereto as Exhibit G.

10          7.      A true and correct copy of highlighted excerpts from the transcript of the Deposition of

11   Joshua Donohoe, taken on November 12, 2024 in connection with this case, is attached hereto as

12   Exhibit H.

13          8.      A true and correct copy of highlighted excerpts from the transcript of the Deposition of

14   Toro Castano, taken on October 9, 2024 in connection with this case, is attached hereto as Exhibit I.

15          9.      On May 19, 2022, Plaintiff Molique Frank commenced a small claims action in San

16   Francisco Superior Court captioned Molique Frank v. San Francisco Public Works, No. CSM-22-

17   865646 for an alleged property destruction that occurred on January 26, 2022. A true and correct copy

18   of Plaintiff’s Claim and Order to Go to Small Claims Court is attached hereto as Exhibit J.

19          10.     On August 25, 2022, Molique Frank entered into a Property Damage Only Release in

20   connection with the small claims action with the assistance of counsel from the Lawyers’ Committee

21   for Civil Rights of the SF Bay Area. A true and correct copy of the August 25, 2022 Property Damage

22   Only Release from the records of the San Francisco City Attorney’s Office is attached hereto as

23   Exhibit K.

24          11.     A true and correct copy of highlighted excerpts from Plaintiffs’ Response to

25   Defendants’ First Set of Interrogatories dated June 22, 2023 is attached hereto as Exhibit L.

26          12.     A true and correct copy of the Coalition on Homelessness’ Annual Report 2016,

27   downloaded from the Coalition on Homelessness Annual Report Archive available at

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 1   https://www.cohsf.org/annual-reports/, is attached hereto as Exhibit M. Highlighting was added for

 2   emphasis.

 3          13.     A true and correct copy of the Coalition on Homelessness’ Annual Report 2019,

 4   downloaded from the Coalition on Homelessness Annual Report Archive available at

 5   https://www.cohsf.org/annual-reports/, is attached hereto as Exhibit N. Highlighting was added for

 6   emphasis.

 7          14.     A true and correct copy of the Coalition on Homelessness’ Annual Report 2022,

 8   downloaded from the Coalition on Homelessness Annual Report Archive available at

 9   https://www.cohsf.org/annual-reports/, is attached hereto as Exhibit O. Highlighting was added for

10   emphasis.

11          15.     A true and correct copy of the Grant Agreement between City and County of San

12   Francisco and Coalition on Homelessness, from the records of the San Francisco Arts Commission,

13   with Bates number CCSF-COH_309166 to 309202, is attached hereto as Exhibit P.

14          16.     A true and correct copy of May 21, 2019 email from Coalition’s Executive Director,

15   Jennifer Friedenbach, entitled             and produced by Plaintiffs in discovery as confidential with

16   Bates number COH01388744, is attached hereto as Exhibit Q. Highlighting was added for emphasis.

17          17.     A true and correct copy of November 17, 2021 email from Coalition’s Executive

18   Director, Jennifer Friedenbach, entitled “Document shared with you:

19                         and produced by Plaintiffs in discovery as confidential with Bates number

20   COH00832297, is attached hereto as Exhibit R. Highlighting was added for emphasis.

21          18.     A true and correct copy of the                                                              and

22   produced by Plaintiffs in discovery as confidential with Bates number COH00832298 to

23   COH00832300, is attached hereto as Exhibit S. Highlighting was added for emphasis.

24          19.     A true and correct copy of the                                      produced by

25   Plaintiffs in discovery as confidential with Bates numbers COH00738208 to COH00738227, is

26   attached hereto as Exhibit T. Highlighting was added for emphasis.

27          20.     A true and correct copy of September 27, 2021 email from Coalition’s Executive

28   Director, Jennifer Friedenbach, entitled                                                  produced by
      DECL. MILLS ISO CCSF’S MTD TAC                     3                        n:\govlit\li2024\230239\01808058.docx
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 1   Plaintiffs in discovery as confidential with Bates numbers COH00873981 to COH00873985, is

 2   attached hereto as Exhibit U. Highlighting was added for emphasis.

 3          21.     A true and correct copy of an October 5, 2020 email from former Coalition Human

 4   Rights Organizer, Kelley Cutler, entitled                                    and produced by

 5   Plaintiffs in discovery as confidential with Bates numbers COH00897439 to COH0089744, is attached

 6   hereto as Exhibit V. Highlighting was added for emphasis.

 7          22.     A true and correct copy of the Coalition’s

 8                         and produced by Plaintiffs in discovery as confidential with Bates numbers

 9   COH00742770 to COH00742847, is attached hereto as Exhibit W. Highlighting was added for

10   emphasis.

11          23.     A true and correct copy of

12                         and produced by Plaintiffs in discovery as confidential with Bates number

13   COH00714793, is attached hereto as Exhibit X. Highlighting was added for emphasis.

14          24.     A true and correct copy of a January 4, 2024 email from Coalition’s Executive

15   Director, Jennifer Friedenbach, entitled

16                   and produced by Plaintiffs in discovery as confidential with Bates numbers

17   COH01262154 to COH01262159, is attached hereto as Exhibit Y. Highlighting was added for

18   emphasis.

19          25.     A true and correct copy of Exhibit 32, from the Deposition of Toro Castano taken on

20   October 9, 2024, is attached hereto as Exhibit Z.

21          26.     A true and correct copy of Exhibit 33, from the Deposition of Toro Castano taken on

22   October 9, 2024, is attached hereto as Exhibit AA.

23          27.     A true and correct copy of Exhibit 6, from the Deposition of Sarah Cronk taken on

24   September 23, 2024, is attached hereto as Exhibit BB.

25          28.     A true and correct copy of Exhibit 10, from the Deposition of Sarah Cronk taken on

26   September 23, 2024, is attached hereto as Exhibit CC.

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 1          29.     A true and correct copy of the                                             and produced

 2   by Plaintiffs in discovery as confidential with Bates numbers COH01508325 to COH01508333, is

 3   attached hereto as Exhibit DD. Highlighting was added for emphasis.

 4          30.     A true and correct copy of the

 5   and produced by Plaintiffs in discovery as confidential with Bates numbers COH00733798 to

 6   COH0733808, is attached hereto as Exhibit EE. Highlighting was added for emphasis.

 7          31.     A true and correct copy of the                                           and produced by

 8   Plaintiffs in discovery as confidential with Bates numbers COH00974420 to COH00974423, is

 9   attached hereto as Exhibit FF. Highlighting was added for emphasis.

10          32.     A true and correct copy of an April 8, 2019 email to Coalition Executive Director,

11   Jennifer Friedenbach, entitled                                and produced by Plaintiffs in discovery

12   as confidential with Bates number COH01316598, is attached hereto as Exhibit GG. Highlighting was

13   added for emphasis.

14          33.     A true and correct copy of an October 8, 2021 email from Coalition’s former Human

15   Rights Organizer, Carlos Wadkins, entitled                               and produced by Plaintiffs in

16   discovery as confidential with Bates numbers COH01168199 to COH01168200, is attached hereto as

17   Exhibit HH. Highlighting was added for emphasis.

18          34.     A true and correct copy of a November 12, 2021 email from Coalition’s Executive

19   Director, Jennifer Friedenbach, entitled                           and produced by Plaintiffs in

20   discovery as confidential with Bates numbers COH01429817 to COH01429818, is attached hereto as

21   Exhibit II. Highlighting was added for emphasis.

22          35.     A true and correct copy of Plaintiffs’ Second Amended Disclosures Pursuant to Fed. R.

23   Civ. P. 26(a)(1) is attached hereto as Exhibit JJ.

24          36.     A true and correct copy of excerpts from the December 4, 2024 Transcript of

25   Proceedings from the Further Case Management Conference is attached hereto as Exhibit KK.

26   Highlighting was added for emphasis.

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 1          37.     A true and correct copy of excerpts from Couper Orona’s public Threads social media

 2   account, downloaded on November 11, 2024, is attached hereto as Exhibit LL. Highlighting was

 3   added for emphasis.

 4          38.     A true and correct copy of                                             and produced by

 5   Plaintiffs in discovery as confidential with the Bates number COH01511418, is attached hereto as

 6   Exhibit MM.

 7          39.     A true and correct copy of excerpts from the transcript of the Deposition of Molique

 8   Frank, Volume II, taken on October 21, 2024 in connection with this case, is attached hereto as

 9   Exhibit NN. Highlighting was added for emphasis.

10          40.     Todd Bryant was previously served with a document subpoena and was represented by

11   outside counsel from Morrison & Foerster LLP. On December 18, 2024, Defendants conferred with

12   outside counsel for Mr. Bryant, and outside counsel confirmed that they cannot accept service on his

13   behalf for a deposition subpoena since they are not currently in contact with Mr. Bryant. As of the date

14   of this declaration, Plaintiffs’ counsel has not informed the Defendants that they will be accepting

15   service on Mr. Bryant’s behalf, even though he is identified as a member and likely trial witness.

16          I declare under penalty of perjury that the foregoing is true and correct and that this declaration

17   was executed in San Francisco, California on January 2, 2025

18

19                                                        /s/ Steven A. Mills
                                                          STEVEN A. MILLS
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